Case 3:09-cv-05191-CRB Document127-15 Filed 01/21/11 Page1of4

EXHIBIT O
Case 3:09-cv-05191-CRB Document127-15 Filed 01/21/11 Page2of4

Brenner, Wendy

From: Brenner, Wendy

Sent: Monday, December 20, 2010 9:49 AM
To: ‘Anna Levine’; ‘larryp@dralegal.org'
Subject: FW: Enyart v. NCBE

Larry & Anna — please see attached letter regarding Ms. Enyart’s requested modifications to the previous injunctions.

Wendy Brenner

Cooley LLP

3175 Hanover Street

Palo Alto, CA 94304-1130

Direct: (650) 843-5371 * Fax: (650) 849-7400

12-20-10 Ltr
L. Paradis.pdi
Case 3:09-cv-05191-CRB Document127-15 Filed 01/21/11 Page 3o0f4

Coole’

Wendy J. Brenner VIA EMAIL AND US MAIL

(650) 843-5371
brennerwj@cocley.com

December 20, 2010

Laurence W. Paradis

Anna Levine

Disability Rights Advocates

2001 Center Street, Fourth Floor
Berkeley, CA 94704

RE: Enyart v. National Conference of Bar Examiners
NCBE’s Position on Potential Injunction for MBE Portion of February 2011 California

Bar Exam

Dear Mr. Paradis and Ms. Levine:

This letter serves as Defendant NCBE’s response to Plaintiff Stephanie Enyart’s requested
modifications to the previous two preliminary injunctions orders issued in the above-referenced
matter, as described in Ms. Enyart’s December 13, 2010 Response to Position of Defendant
National Conference of Bar Examiners on Potential Injunction Sought by Plaintiff for the MBE
Portion of the February 2011 California Bar Examination During Pending Ninth Circuit Appeal,
and in related email communications between Ms. Levine and myself on December 9, 2010

(attached for your reference).

Decisions relating to Ms. Enyart’s physical access to the NCBE-provided laptop computer for
inspection and set up rest with the California State Bar. Subject to agreement by the California
State Bar, NCBE agrees to the following for Ms. Enyart's February 2011 administration of the
MBE portion of the California Bar Exam:

» NCBE will make the NCBE-provided laptop available to Ms. Enyart for inspection and
set-up on February 17, 2011, and provide her with access again on February 21, 2011.

* Provided the California State Bar is able to manage storage and ensure security, NCBE
will permit the laptop computer to remain set up from February 21, 2011 until Ms. Enyart
takes the MBE on February 26 and 27, 2011.

* NCBE will make an NCBE representative available by telephone on February 17, 2011
and February 21, 2011, at a pre-established, mutually convenient time between 8:30
a.m. and 4:00 p.m. CST, to assist Ms. Enyart with troubleshooting any technical or
compatibility issues. For security reasons, NCBE will not provide administrative
privileges to anyone. The NCBE representative available by telephone will not use
his/her administrative privileges in any way, nor will he/she transfer that ability.

NCBE is also in receipt of Ms. Enyart’s request for specific software versions. NCBE is still
evaluating that request. We will respond to you on that issue as soon as we are able.

FIVE PALO ALTO SQUARE, 3000 EL CAMINO REAL, PALO ALTO, CA 94306-2156 7: (650) 843-5000 F: (650) 849-7400 WWW.COOLEY.COM
Case 3:09-cv-05191-CRB Document127-15 Filed 01/21/11 Page4of4

CO

Laurence Paradis
Anna Levine
December 20, 2010
Page Two

NCBE’s agreement to the above-listed accommodations is in no way an acknowledgment by
NCBE that Ms. Enyart needs or is entitled to these accommodations under the Americans with
Disabilities Act. NCBE maintains its position that Ms. Enyart is not legally entitled to her
requested exam format or any related accommodations.

Sincerely,

Cooley LLP *

WW unas}

Wendy J. Brenner

FIVE PALO ALTO SQUARE, 3000 EL CAMINO REAL, PALO ALTO, CA 94306-2158 T: (650) 843-5000 F: (650) 849-7400 WWW.COOLEY.COM
